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                          EXHIBIT 2
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                                                    Entered     Global
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                                                                             home of Nokia Phones
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                                                                                                       When HMD was established in 2016, we stepped into the smartphone
                                                                                                       business with a drive that would kick things off rapidly. In just 11
                                                                                                       months, our first 11 phones were released to customers around the
                                                                                                       world. Featuring 5 feature phones and 6 Android™ smartphones, it was a
                                                                                                       range that offered choice and reliability to every user segment. We
                                                                                                       established 50 offices around the world in our first 12 months, quickly
                                                                                                       securing our foothold in the global market. As a startup valued at over
                                                                                                       $1 billion, we also earned our Unicorn status – an achievement that we
                                                                                                       owe to our strong customer base.




                                           At HMD we have a simple idea at the core of our             sets us apart in the mobile phones market –
                                           operations: that mobile technology can enhance              whichever phone is right for you, it will be a phone
                                           the everyday lives of everyone around the world.            you can trust.
                                           Our wide selection of phones are a step toward to
                                           realizing that vision, but we go even further: our          Ever since our first 11 phones in 2017, we have
                                           phones are made to get better for years to come,            continued to expand every area of our phones
                                           with a design that remains timeless and updates             portfolio, including dependable feature phones,
                                           that improve security and performance.                      reborn classics, first-time smartphones and
                                                                                                       smartphones fit for enterprises.
                                           We ensure that these principles are inherent in
                                           each and every one of our phones, and this is what




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                                           The Nokia
                                                                                                     Its reputation for design and dependability made
                                                                                                     Nokia a household name. Today, HMD upholds
                                                                                                     that heritage with Nokia branded mobile devices



                                           mobile
                                                                                                     running Android operating systems, uniting two of
                                                                                                     the world’s most iconic names in mobile
                                                                                                     technology.



                                           phones                                                    In keeping with our mission to make modern
                                                                                                     mobile technology accessible to everyone, we



                                           story
                                                                                                     believe that every Nokia phone should be built
                                                                                                     upon the principles of refined design and steadfast
                                                                                                     reliability, no matter which segment it is made for.




                                           Meet our
                                           team
                                           At HMD, our teams are united in our passion for
                                           the Nokia brand and the principles for which it is
                                                                                                     One by one, we hope to
                                           known. Equipped with a wealth of industry                 enrich people’s lives
                                           knowledge and experience, we are committed to
                                           our mission of making mobile technology                   worldwide.
                                           accessible to all.




                                           Leadership team




                                                                 Florian Seiche                                           Juho Sarvikas
                                                                 Chief Executive Officer                                  Chief Product Officer




                                                                                                                          Per Ekman
                                                                 Anssi Rönnemaa
                                                                                                                          Chief Commercial Officer,
                                                                 Chief Financial Officer
                                                                                                                          Head of Europe




                                                                 Jari Koljonen                                            Ben Jen
                                                                 General Counsel                                          Vice President Accessories




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                                                                Ajey Mehta

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                                                                                Vice President India and                              Maurizio Angelone
                                                                                APAC                                                  Vice President Americas




                                                                                Justin Maier
                                                                                Vice President Sub Sahara
                                                                                Africa




                                                   Board



                                                                                                                                      Jean-Francois Baril
                                                                                Florian Seiche
                                                                                                                                      Executive Chairman of HMD
                                                                                Chief Executive Officer
                                                                                                                                      Global




                                                                                Sam Chin                                              Ivan Yeh
                                                                                Board Director                                        Board Director




                                                                                Barry French
                                                                                Board Director




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                      Our locations
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                      across over 50 locations with our
                      headquarters in Espoo, Finland.

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                      China




                                                                                                            Language   Nokia phones       Legal             Ethics             UK compliance


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